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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  ANDERSON DIVISION

TTI CONSUMER POWER TOOLS, INC., F/K/A                  Civil Action No. 8:22-cv-04085-JDA
ONE WORLD TECHNOLOGIES, INC. D/B/A
TECHTRONIC INDUSTRIES POWER
EQUIPMENT,
                    Plaintiff,
v.

ENGINEERED PLASTIC COMPONENTS, INC.,

                              Defendant,
and

ENGINEERED PLASTIC COMPONENTS, INC.,

                              Counter-Plaintiff,
v.

TTI CONSUMER POWER TOOLS, INC., F/K/A
ONE WORLD TECHNOLOGIES, INC. D/B/A
TECHTRONIC INDUSTRIES POWER
EQUIPMENT,

                              Counter-Defendant.


                                  EXHIBIT A
                     NON-CONFIDENTIAL DESCRIPTIVE INDEX OF
                           DOCUMENTS TO BE SEALED


      1. Exhibit 1 – Email dated August 4, 2020 from Reid Cheatham (TTI_00367273)

      2. Exhibit 2 – EPC Visit summary, dated August 5, 2020 (TTI_00510429 –
         TTI_005100430)

      3. Exhibit 3 – Email dated August 14, 2020 from Trey Cottrell (TTI_00153565 –
         TTI_00453566)

      4. Exhibit 4 – Email dated September 3, 2020 from Reid Cheatham (TTI_00367348 –
         TTI_00367349)




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5. Exhibit 5 – Exhibit 124 excerpts to the Deposition of Brandon White on November 15,
   2023 (TTI_00408464 – TTI_00408512)

6. Exhibit 6 – Exhibit 159 to the Deposition of Brandon White on January 25, 2024
   (TTI_00029624 – TTI_00029674)

7. Exhibit 7 – Email dated July 18, 2021 from Brandon White (TTI_00421020 –
   TTI_00421021)

8. Exhibit 8 – Email dated November 17, 2021 from Tammy Banks (EPC-0090378 – EPC-
   0090379)

9. Exhibit 9 – Email dated January 7, 2022 from Brandon White (TTI_00156417 –
   TTI_00156419)

10. Exhibit 10 – Email dated February 11, 2022 from Bob Bachman (EPC-0006392 – EPC-
    0006399)

11. Exhibit 11 – Letter dated October 12, 2022 from Brandon White (EPC-0003414)

12. Exhibit 12 – Deposition Excerpts of Steven Hoppa, dated September 29, 2023

13. Exhibit 13 – Deposition Excerpts of Keith Lombardi, dated October 18, 2023

14. Exhibit 14 – Exhibit 1 to the Deposition of David Richley on March 21, 2024, without
    attachment (TTI_00369312 – TTI_00369353)

15. Exhibit 15 – Exhibit 3 to the Deposition of David Richley on March 21, 2024
    (TTI_00355712 – TTI_00355723)

16. Exhibit 16 – Exhibit 191 to the Deposition of Bobby Shaw on February 9, 2024
    (TTI_00482644 - TTI_00482646)

17. Exhibit 17 – Exhibit 193 to the Deposition of Bobby Shaw on February 9, 2024
    (TTI_0048924 – TTI_00482926)

18. Exhibit 18 – Exhibit 154 to the Deposition of Reid Cheatham on December 11, 2023
    (TTI_00412739 – TTI_00412741)

19. Exhibit 19 – Exhibit C to the expert report of Christ A. Gleason

20. Exhibit 20 – Deposition Excerpts of Tammy Banks, dated September 28, 2023

21. Exhibit 21 – Exhibit 48 to the Deposition of Tammy Banks on September 28, 2023
    (TTI_00347937 – TTI_00347941)



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   22. Exhibit 22 – Exhibit 84 to the Deposition of Steven Hoppa on September 29, 2023
       (TTI_00343091 – TTI_00343092)

   23. Exhibit 23 – Exhibit 156 to the Deposition of Reid Cheatham on December 11, 2023
       (TTI_00055533 – TTI_00055534)

   24. Exhibit 24 – Email dated April 19, 2022 from Brandon White (EPC-0001693 – EPC-
       0001699)

   25. Exhibit 25 – Email dated October 28, 2022 from John Kuppens

   26. Exhibit 26 – Opinion #2 & #3 to the expert report of Eric C. Lioy

   27. Exhibit 27 – Excerpt of ROYOBI LINK Modular Storage – Canada Update, dated July
       13, 2021 (TTI_00345141)

   28. Exhibit 28 – Exhibit 5 to the expert report of Eric C. Lioy



                                             Respectfully submitted,

                                             HAYNSWORTH SINKLER BOYD, P.A.

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Dated: May 13, 2025                          Engineered Plastic Components, Inc.




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